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                                                                                                        FOIA SummRQs
                                                                                                        1/1



                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA


      AMERICA FIRST LEGAL FOUNDATION
                                                      )
                         Plaintiff                    )
                                                      )
                 v.                                   )            Civil Action No. 1:24-cv-3075
        NATIONAL SCIENCE FOUNDATION                   )
                                                      )
                         Defendant                    )



                                           SUMMONS IN A CIVIL ACTION

To:      (Defendant’s name and address)
                                          NATIONAL SCIENCE FOUNDATION
                                          2415 Eisenhower Avenue
                                          Alexandria, VA 22314




         A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                       Michael Ding
                       AMERICA FIRST LEGAL FOUNDATION
                       611 Pennsylvania Ave SE #231
                       Washington, DC 20003




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                            ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                   Signature of Clerk or Deputy Clerk
                  Case 1:24-cv-03075-ACR                 Document 1-4         Filed 10/30/24             Page 2 of 2

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&LYLO$FWLRQ1R

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLVVXPPRQVIRU(name of individual and title, if any)
ZDVUHFHLYHGE\PHRQ(date)                                        

          u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                              RQ(date)                          RU

          u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                           DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
          RQ(date)                           DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
          GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                              RQ(date)                          RU

          u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                          RU

          u 2WKHU(specify):
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'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
